          EXHIBIT A1




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


  IN RE CATTLE ANTITRUST LITIGATION                    Case No. 19-cv-1222 (JRT/HB)


  This document relates to:                            ORDER ON DISCOVERY
                                                       PENDING RESOLUTION OF
  ALL CASES                                            MOTIONS TO DISMISS


  KENNETH PETERSON, et al.,                            Case No. 19-cv-1129 (JRT/HB)

                                    Plaintiffs,

  v.

  JBS USA FOOD COMPANY HOLDINGS, et al.,

                                    Defendants.


        On July 10, 2019, three putative antitrust class actions were consolidated under

 the caption In Re Cattle Antitrust Litigation, Case No. 19-cv-1222 (JRT/HB) (hereafter

 “In Re Cattle”) for pretrial purposes. (Order at 2–3 [Doc. No. 88].) About two weeks

 before the In Re Cattle cases were filed, Kenneth Peterson and several other plaintiffs had

 filed a non-class action complaint against a number of the same defendants. See Peterson

 v. JBS USA Food Co. Holdings, Case No. 19-cv-1129 (JRT/HB) (hereafter “Peterson”).

 Plaintiffs in both In Re Cattle and Peterson filed first amended complaints on July 15,

 2019 [Doc. No. 92 in In Re Cattle; Doc. No. 53 in Peterson] and second amended

 complaints in October 2019 [Doc. No. 125 in In Re Cattle] or November 2019 [Doc.

 No. 114 in Peterson]. Generally, the plaintiffs in all of these matters, some of whom are




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 purchasers of beef and others suppliers of cattle, allege that the defendants conspired or

 colluded to artificially raise, fix, or maintain prices in the cattle and beef market in

 violation of federal antitrust laws.

        On November 13, 2019, pursuant to a schedule established by the Court with the

 agreement of the parties, Defendants filed motions to dismiss in In Re Cattle [Doc. Nos.

 139, 143, 146, 148, 150]. The Peterson Defendants filed motions to dismiss on

 December 10, 2019 [Doc. Nos. 117, 122, 124, 126, 128]. The motions to dismiss are

 currently scheduled for hearing before the Honorable John R. Tunheim, Chief Judge,

 United States District Court for the District of Minnesota, on June 8, 2020. On

 February 25, 2020, the parties filed a Joint Status Report and Letter Brief, with proposed

 orders and summaries describing their respective positions on whether and to what extent

 discovery and/or discovery planning should go forward while the motions to dismiss are

 pending. [Doc. No. 192 in In Re Cattle; Doc. No. 143 in Peterson.] 1 A case

 management conference was held before the undersigned on March 3, 2020, at which the

 Court heard further arguments. [See Doc. No. 193 in In Re Cattle; Doc. No. 144 in

 Peterson.]

        Based upon all of the files, records, and proceedings herein, the Court orders that,

 absent agreement of the parties or further order of the Court, the following discovery will

 proceed in these matters as to all parties other than JBS, S.A., and all other discovery



 1
   The Parties filed identical Joint Status Report and Letter Briefs with exhibits and
 proposed orders in In Re Cattle and Peterson. For convenience, the Court will cite only
 to the Peterson submissions in this Order.

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 (including all discovery as to JBS, S.A.) will be stayed pending resolution of Defendants’

 motions to dismiss.

 1.    Rule 26 and Rule 16:

       a.     The parties must serve Rule 26(a)(1) Initial Disclosures on or before

              May 15, 2020.

       b.     Except as provided herein and in the Order Regarding Production of

              Electronically Stored Information and Paper Documents, filed

              contemporaneously herewith, the Parties will not be required to engage in a

              Rule 26(f) conference at this time. However, if the motions to dismiss are

              denied in whole or in part, the Parties must engage in a Rule 26(f)

              conference as to all remaining claims no later than 21 days after the

              decision is filed, and must file the Rule 26(f) report no later than 35 days

              after the decision is filed. The Court will enter a separate order setting the

              Rule 16 conference, if necessary, shortly after the decision is filed.

 2.    Documents and purchase/sale data produced to government regulators: The

       Court declines at this time to order Defendants to produce the documents and

       purchase/sale data produced to government regulators as described in Plaintiffs’

       Proposed Order Regarding Discovery [Doc. No. 143-1 at 58-59 in Peterson], and

       records of live cattle futures and options transactions [id. at 65]. Similarly, the

       Court declines at this time to order Plaintiffs to produce sales and purchase records

       as described in Plaintiffs’ Proposed Order [id.]. The Court is not persuaded that


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       the documents sought from Defendants are so easily identified and gathered and so

       clearly relevant in their entirety that they should be excepted from the parties’

       agreement to forgo document production pending resolution of the motions to

       dismiss. Furthermore, any such requests should be made and responded to

       pursuant to Federal Rule of Civil Procedure 34. And, since the Court is not going

       to order Defendants to produce such documents at this time, it follows that

       Plaintiffs should not be required to produce the categories of sales and purchase

       records identified in Plaintiffs’ Proposed Order.

 3.    Initial Rule 34 Requests:

       a.     Plaintiffs and Defendants may serve initial Rule 34 requests on or after

              May 29, 2020, as follows:

                  i. The In Re Cattle Plaintiffs, collectively, and the Peterson Plaintiffs,

                     collectively, may each serve no more than 20 Rule 34 requests on

                     each Defendant.

                 ii. Defendants, collectively, may serve no more than a total of 20 Rule

                     34 requests on each Plaintiff. They may serve common requests or

                     defendant-specific requests, or a combination thereof, but they must

                     meet and confer with each other about any requests to be served to

                     assure that this limit is not exceeded.




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        b.     Unless otherwise agreed, the Parties shall serve written objections and

               responses to the initial Rule 34 Requests within 30 days of service of the

               requests.

        c.     The Parties are to meet and confer about the initial Rule 34 requests within

               30 days of service of the responses.

        d.     Except as specifically provided herein, no Party will be required to produce

               documents responsive to the initial Rule 34 requests until further order of

               the Court.

 4.     Additional steps: Plaintiffs and Defendants must disclose the documents and/or

        information described in Attachment 1 on or before May 22, 2020, without the

        need for a request pursuant to Rule 34, unless a different deadline for disclosure is

        agreed to by the Parties or ordered by the Court.




                                        MEMORANDUM

        I.     The Parties’ Positions on Conducting Discovery While the Motions to
               Dismiss Are Pending

        Significantly, neither side in these cases has urged the Court to adopt an “all or

 nothing” approach to moving forward with discovery planning while the motions to

 dismiss are pending, although their respective positions about what should occur during

 the interim are materially different. The parties agreed to negotiate a Stipulated

 Protective Order and an ESI Protocol. They did so and submitted proposed orders with a


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 few areas of disagreement left for the Court to resolve. [Doc. No. 143-1 at 1-29 (ESI

 Protocol) and Doc. No. 143-1 at 30-55 (Protective Order) in Peterson.] The Court has

 resolved those disputes and has entered a Protective Order and an Order Regarding

 Discovery of Electronically Stored Information and Paper Documents,

 contemporaneously with the filing of this Order.

        Plaintiffs further proposed, however, that the parties undertake the following

 additional tasks while the motions to dismiss are pending:

     1. Parties exchange Rule 26(a) disclosures, participate in a Rule 26(f) conference and
        file a Rule 26(f) report, and appear for a Rule 16 scheduling conference;

     2. Defendants produce certain documents and communications previously provided
        to regulators, and transaction reports previously provided to the United States
        Department of Agriculture, as more specifically described in Plaintiffs’ Proposed
        Order Regarding Discovery [Doc. No. 143-1 at 58-59, 65 in Peterson];

     3. In Re Cattle Plaintiffs produce records of fed cattle sales and live cattle
        transactions, and Peterson Plaintiffs produce records of beef purchases, as more
        specifically described in Plaintiffs’ Proposed Order Regarding Discovery [id. at
        65];

     4. In Re Cattle and Peterson Plaintiffs serve up to thirty Rule 34 requests each on
        Defendants, in response to which Defendants would serve written objections (but
        not produce documents) and the parties would meet and confer.

     5. Parties make disclosures regarding organizational charts, document retention and
        technology use policies, and information pertaining to email systems, data sources,
        and inaccessible data, ESI systems, as more specifically described in Plaintiffs’
        Proposed Order Regarding Discovery [id. at 61-66].

 (Joint Status Report and Letter Brief at 7 2 [Doc. No. 143 in Peterson].) Plaintiffs argue

 these tasks would allow the parties to make substantial progress on threshold discovery


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   The Court cites to the page numbers assigned by the CM/ECF system for this
 document.

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 issues so that when, they anticipate, Defendants’ motions to dismiss are denied, the

 parties will be positioned to move forward quickly and efficiently with, while avoiding

 for the time being the significant burden of loading, processing, reviewing, and producing

 custodial documents. (Id. at 8.)

        Defendants disagree, arguing that the additional disclosures sought by Plaintiffs

 would require them to gather broad categories of information for a six-year period at

 significant expense. (Id. at 14, 16.) Thus, Defendants object, the additional tasks

 requested by Plaintiffs would involve significant additional burden, and the ruling on the

 motions to dismiss could either end the case altogether or dramatically affect the scope of

 discovery and therefore of the associated tasks, including by impacting the assessment of

 both relevance and proportionality required by Federal Rule of Civil Procedure 26. (Id.

 at 13-14.) As a result, they argue there is a substantial risk that much of the effort

 associated with these tasks would be wasted, either because they would have to be redone

 in light of the rulings on the motions to dismiss, or because those rulings could make

 some of the work irrelevant and unnecessary or even eliminate the need for any discovery

 whatsoever. Defendants further argue the similar tasks ordered by this Court in In Re

 Pork Antitrust Litigation, Case No. 18-cv-1776 (JRT/HB) consumed hundreds of hours

 of attorney and client time and significant client resources only to have Chief Judge

 Tunheim grant Defendants’ motions to dismiss in that litigation. (Id. at 15.) Defendants

 urge the Court to “take a peek” at the merits of the pending motions to dismiss in these

 cases and predict that those motions, too, will be granted, rendering any discovery efforts

 at this stage unnecessary and wasteful. (Id. at 13.) Defendants also argue that Plaintiffs’


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 demand for documents produced to a number of “regulators” would not be simple to

 gather and produce, calls for documents that are not relevant to the present claims even if

 they survive the pending motions, and amounts to an improper effort by Plaintiffs to fish

 for documents from Defendants to shore up their deficient claims. (Id. at 16.)

        II.    Considerations Relevant to the Court’s Rulings

        A court has the discretion to stay discovery in whole or in part during the

 pendency of a motion to dismiss. See Jones v. Clinton, 72 F.3d 1354, 1361 (1996) (“The

 trial court has broad discretion to control the scheduling of events in matters on its

 docket.”); TE Connectivity Networks, Inc. v. All Systems Broadband, Inc., No. 13-cv-

 1356 (ADM/FLN), 2013 WL 4487505, at *2 (D. Minn. Aug. 20, 2013) (“[A] court may

 stay discovery for good cause shown.”). Several factors may inform a court’s decision

 whether to stay discovery while a motion to dismiss is pending, including the merits of

 the motion, the scope of the discovery, the potential harm to the plaintiff if discovery is

 delayed, the potential hardship or injustice to the defendant if discovery proceeds, and the

 resources of the parties and the Court. See Dufrene v. ConAgra Foods, Inc., No. 15-cv-

 3796 (WMW/LIB), 2016 WL 10651947, at *2 (D. Minn. Apr. 7, 2016); TE Connectivity,

 2013 WL 4487505, at *2. The Court has also taken into account the extent to which

 much of the information sought would necessarily be investigated and gathered as part

 and parcel of a diligent party’s efforts to assure that it has taken the requisite reasonable

 steps to preserve relevant evidence.

        The Court has considered the above factors, with the exception of the merits

 factor, in fashioning the relief and guidance described herein. As to the merits factor, this


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  Court is not inclined to “take a peek” and weigh in on the merits of motions that are

  presently pending before the District Court. While the Court recognizes that such

  motions were granted in In Re Pork, which involves many of the same attorneys and

  some similarity in the claims, the Court also notes that the allegations in the amended

  complaints at issue here are not identical. Furthermore, Judge Tunheim gave the

  plaintiffs the opportunity to amend their complaint in In Re Pork and the new round of

  motions to dismiss in that litigation are still pending. This Court is therefore not willing

  to hazard a guess as to whether Defendants’ motions will be successful and on that basis

  stay all activity in the interim.

         That said, the Court has also considered the possibility that some or all of the

  discovery sought from some or all Defendants could prove unnecessary if the motions are

  granted or granted in part. Thus, in resolving the issues presented by the motion to stay,

  the Court has taken into account the interests that favored deferring a significant burden

  of discovery that might ultimately prove unnecessary, as well as the interests that favored

  moving the litigation forward efficiently and expeditiously if the motions to dismiss are

  denied in whole or in part. Although there is no perfect way to meet all of those interests,

  the Court is persuaded there is a reasonable way to balance them so that significant and

  meaningful progress can be made on a number of fronts, while still conserving resources

  and moderating unfairness or prejudice. The Court believes the balance it has struck—

  while by no means eliminating the cost and burden to the parties, the risk that it could

  prove unnecessary, and the likelihood that there will need to be additional negotiations to

  refine the agreements and the parties’ disclosures even if the motions are denied in whole


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  or in part—best assures the parties will make effective use of the time during which the

  motions are pending and lays the groundwork for a much more efficient discovery

  process if the motions are denied.

         Accordingly, this Order, including Attachment I, together with the Protective

  Order and the Order Regarding Discovery of Electronically Stored Information and Paper

  Documents filed contemporaneously herewith, comprise the Court’s rulings on the issues

  submitted by the parties in their Joint Status Report and Letter Brief. Except as

  specifically set forth in these Orders, all other discovery shall be STAYED pending

  resolution of Defendants’ motions to dismiss.



         IT IS SO ORDERED.



  Dated: April 14, 2020                      s/ Hildy Bowbeer
                                            HILDY BOWBEER
                                            United States Magistrate Judge




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                                        ATTACHMENT 1

         The parties will disclose the following documents and/or information for the

  period from January 1, 2014, to December 31, 2019, to the extent such documents exist

  and are readily available.

         As part of these initial, limited disclosures, the parties need not disclose every

  document falling within items 1-6 or 8-9 below, but will disclose documents sufficient to

  show the requested information for each year at issue to the extent such documents exist

  and are readily available. Such disclosures will be subject to a duty to supplement or

  amend the disclosures once discovery commences, and further subject to modification by

  any party upon a showing that complying with such disclosure would be unduly

  burdensome.

         By providing information pursuant to these disclosures, the parties do not waive or

  limit their respective rights to object to, or oppose, any request for further disclosure or

  discovery.

         The omission of any particular category of documents from this Order does not

  preclude the parties from seeking such documents in discovery once discovery

  commences. In making the disclosures pursuant to this Attachment, a disclosing party is

  not making any representations regarding whether it may use any documents, people, or

  information in support of its claims or defenses, reserves all rights to challenge the

  relevance of any disclosures, and is not agreeing that the persons disclosed possess

  information relevant to the claims or defenses.




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  1.    Organizational Charts:

        a.    Defendants:

             i.      Organizational charts sufficient to show the names and titles of

                     individuals with the following positions or responsibilities relating to

                     cattle and/or beef:

                     1.     member of the board of directors;

                     2.     all executives with the title of Director, Vice President, or

                            higher (such as SVP, CEO, COO, CFO, etc.), as well as their

                            administrative assistants or secretaries;

                     3.     investor and/or creditor relations;

                     4.     the person or persons (if any, and excluding any clerical-level

                            or administrative-level personnel) who have primary

                            responsibility for:

                            a.     fed cattle procurement;

                            b.     slaughter plant scheduling and/or operation;

                            c.     beef sales; and

                            d.     submitting purchase and sale data to the USDA

                                   pursuant to the Livestock Mandatory Reporting Act.

                     5.     the person or persons who supervise the department

                            responsible for beef or carcass sales to, purchases from, trades

                            with, or co-packing transactions with other beef packers;




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                      6.    all executives with the title of Director, Vice President, or

                            higher, as well as certain limited executives with the title of

                            Manager, 3 whose primary responsibilities include

                            determining or approving a Defendant’s fed cattle

                            procurement, slaughter levels, beef production levels and

                            sales volumes and prices, and who were an officer or board

                            member of, or otherwise formally-designated participant

                            (such as a member of a relevant committee) of any of the

                            following:

                            a.     National Cattlemen’s Beef Association;

                            b.     U.S. Meat Export Federation;

                            c.     North American Meat Institute;

                            d.     Global Roundtable for Sustainable Beef; and

                            e.     U.S. Roundtable for Sustainable Beef.

                      7.    all executives with the title of Director, Vice President, or

                            higher, as well as certain limited executives with the title of

                            Manager, whose primary responsibilities include determining

                            or approving a Defendant’s own fed cattle pricing,




  3
    “Manager,” as used in this subparagraph and in subparagraph 7 below, includes only
  individuals whose position makes them the highest level executive overseeing a specific
  beef complex, but not individuals with the position of “manager” who report to such
  individuals.

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                                  procurement, or slaughter levels, and/or Defendant’s own beef

                                  pricing, inventory, export and production levels.

              ii.          Defendants may create a list of individuals with the job

                           responsibilities listed in item 1(a)(i) above in lieu of producing a

                           formal organizational chart, so long as such a list provides, to the

                           extent the information is readily available, the individual’s name,

                           title, the time period during which they held that title, and for item

                           1(a)(i)(6) above, the name of the trade association of which they

                           were an officer, board member, or formally-designated participant

                           and any committee memberships held.

             iii.          With respect to items 1(a)(i)(4), 1(a)(i)(5), and 1(a)(i)(7) above, to

                           the extent that a particular position at a Defendant’s cattle and/or

                           beef facilities typically fulfills the particular job responsibility at

                           issue, a Defendant may simply identify that position and the

                           estimated number of individuals who have held that position during

                           the relevant period.

        b.      Producer Plaintiffs 4: Organizational charts sufficient to show the names

                    and titles of individuals in the following positions or responsibilities:


  4
    Because Defendants opposed these additional disclosures altogether and therefore (the
  Court presumes) may not have weighed in on the specifics of the obligations described,
  the Court cannot tell whether the types of Plaintiff organizational information identified
  in paragraphs 1(b) and 1(c) addresses Defendants’ needs at this juncture to a comparable
  extent as the Defendant organizational information described in paragraph 1(a) does for
  Plaintiffs. Cf. Order Regarding Disclosure of Information in In Re Pork, Case No. 18-cv-

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              i.       all executives with the title of Director, Vice President, or higher; and

             ii.       individuals whose primary responsibilities include the marketing of

                       that Plaintiff’s cattle.

        c.     Organization Plaintiffs: Organizational charts sufficient to show the

               names and titles of individuals in the following positions or responsibilities:

              i.       all executives with the title of Director, Vice President, or higher; and

             ii.       individuals with primary responsibility for managing that

                       Organization’s activity in respect of the fed cattle market.

        d.     Cattle Plaintiffs may create a list of individuals with the job responsibilities

               listed above in paragraphs 1(b) and (c) in lieu of a formal organizational

               chart, so long as such a list provides, to the extent the information is readily

               available, the individual’s name, title, and the time period during which they

               held that title.

  2.    Email Systems: Identification of the email system used, including the name of the

        email system, version number (including applicable dates for different versions, if

        readily available), and time period or number of days for which email is retained

        on the system.




  1776, ECF No. 290 at 5-6. The parties are instructed to meet and confer in good faith
  regarding whether additional information regarding Plaintiffs’ organizations and the
  individuals who filled various roles within those organizations is reasonably required and
  should be produced by Plaintiffs at this time.

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  3.    Non-custodial Data Sources: A list of known non-custodial data sources (e.g.,

        shared drives, servers, etc.), if any, likely to contain discoverable ESI. These lists

        will identify the databases that are likely to contain discoverable “structured data.”

  4.    Document Retention Policies: Document retention and/or destruction policies,

        including policies or systems that automatically deleted certain types of

        documents or data (e.g., email) after a certain period, that applied to documents

        and data likely to be relevant to the claims or defenses in these cases and that

        were in effect at any time during the period from January 1, 2014, to December

        31, 2019.

  5.    Employee Technology Use Policies: Employee Technology Use Policies in

        effect during the period of January 1, 2014, to December 31, 2019, including (if

        they exist) policies concerning use by employees of cellphones, notebook

        computers, and tablets for business purposes. Without intending to limit, such

        policies may go by the following names: bring-your-own device (BYOD)

        policies, choose-your-own-device (CYOD) policies, corporate-liable-employee-

        owned (CLEO) policies, corporate-owned/personally enabled (COPE) policies,

        mobile-device-management (MDM) policies, and dual-use device policies.

        Plaintiffs and Defendants will disclose if they had no such policies during the

        identified time period.

  6.    Inaccessible Data: A list of known data sources, if any, likely to contain

        discoverable ESI and that the party asserts are not reasonably accessible under

        Rule 26(b)(B) or Rule 26(b)(2)(C)(i).


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